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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


MICHAEL RICHARDSON                                                            CIVIL ACTION

VERSUS                                                                        NO. 13-5415

BNSF RAILWAY COMPANY                                                          SECTION: "K"(2)

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                                    ORDER OF DISMISSAL

       The Court having been advised that all of the parties to this action have firmly agreed upon

a compromise,

       IT IS ORDERED that this action is hereby dismissed without costs and without prejudice

to the right, upon good cause shown, within 60 (sixty) days, to reopen the action or to seek summary

judgment enforcing the compromise if settlement is not consummated within a reasonable time. The

Court retains jurisdiction for all purposes, including enforcing the settlement agreement entered into

by the parties.

                  COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE
                  BEEN SUBPOENAED, EVERY WITNESS MUST BE
                  NOTIFIED BY COUNSEL NOT TO APPEAR.

       New Orleans, Louisiana, this 1st day of September, 2015.




                                                     STANWOOD R. DUVAL, JR.
                                               UNITED STATES DISTRICT COURT JUDGE
